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  MANNING CURTIS                                 COOLEY LLP
  BRADSHAW & BEDNAR PLLC                         John C. Dwyer (Pro Hac Vice)
  Mitchell M. Longson (#15661)                   Tijana Brien (Pro Hac Vice)
  201 South Main St. Suite 750                   3175 Hanover Street
  Salt Lake City, UT 84111                       Palo Alto, CA 94304
  Telephone: (801) 363-5678                      Telephone: (650) 843-5000
  Facsimile: (801) 364-5678                      Facsimile: (650) 849-7400
  SOUTHERN UTAH                                  HOGGAN LEE HUTCHINSON
  WILDERNESS ALLIANCE                            Trevor J. Lee (#16703)
  Stephen H.M. Bloch, (# 7813)                   1225 Deer Valley Dr.
  Michelle White (#16985)                        Park City, UT 84060
  425 East 100 South                             Telephone: (435) 615-2264
  Salt Lake City, UT 84111
  Telephone: (801) 486-3161
  Facsimile: (801) 486-4233

  Attorneys for Intervenor-Defendants Southern Utah Wilderness Alliance et al.


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   KANE COUNTY (2), UTAH,

               Plaintiff, and                            REQUEST TO SUBMIT FOR
   STATE OF UTAH,                                        DECISION AND EXPEDITED
                                                             CONSIDERATION
               Intervenor-Plaintiff,
          v.
                                                      Case Nos. 2:10-cv-1073 (Consolidated
   UNITED STATES OF AMERICA,                               2:11-cv-1031, 2:12-cv-476)

               Defendant, and                                 Judge Clark Waddoups

   SOUTHERN UTAH WILDERNESS
   ALLIANCE et al.,

               Intervenor-Defendants.


         Pursuant to D.U. Civ. R. 7-3, Intervenor-Defendants Southern Utah Wilderness

  Alliance et al. (collectively, “SUWA”), through their undersigned counsel, respectfully

  request that its pending Motion to Implement Tenth Circuit Order and For Expedited

  Consideration (“Motion”) be submitted for decision. SUWA filed its Motion on August 5,
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  2024. (ECF No. 789.) Defendant United States filed a response on August 8, 2024. (ECF

  No. 790). Plaintiffs Kane County, Utah and the State of Utah (“Plaintiffs”) filed an

  opposition on August 8, 2024. (ECF No. 791.) SUWA stands on its Motion and does not

  intend to file a reply.


          No party has requested a hearing and SUWA does not believe oral argument is

  necessary to resolve its Motion.


          Expedited consideration of SUWA’s Motion is warranted because SUWA is

  seeking to participate in the fast-approaching evidentiary hearing set by this Court on

  August 21 and 22, 2024, as well as preceding discovery. In order to do so, SUWA, and

  the other parties to this action, require clarity from this Court regarding SUWA’s right to

  participate as to scope.


          Respectfully submitted this 9th day of August, 2024.




                                                 /s/ Tijana Brien
                                                MANNING CURTIS
                                                BRADSHAW & BEDNAR PLLC
                                                Mitchell M. Longson (#15661)
                                                136 East South Temple, Suite 1300
                                                Salt Lake City, Utah 84111
                                                Telephone: (801) 363-5678
                                                Facsimile: (801) 364-5678

                                                HOGGAN LEE HUTCHINSON
                                                Trevor J. Lee (#16703)
                                                1225 Deer Valley Dr.
                                                Park City, UT 84060
                                                Telephone: (435) 800-2096
                                                Facsimile:

                                                SOUTHERN UTAH WILDERNESS
                                                ALLIANCE
                                                Stephen H.M. Bloch (#7813)


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                                     Michelle White (#16985)
                                     425 East 100 South
                                     Salt Lake City, UT 84111
                                     Telephone: (801) 486-3161
                                     Facsimile: (801) 486-4233

                                     COOLEY LLP
                                     John C. Dwyer (Pro Hac Vice)
                                     Tijana Brien (Pro Hac Vice)
                                     3175 Hanover Street
                                     Palo Alto, CA 94304
                                     Telephone: (650) 843-5000
                                     Facsimile: (650) 849-7400


                                     Attorneys for Intervenor-Defendants
                                     Southern Utah Wilderness Alliance et al.



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